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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

 STATE OF TENNESSEE, et
 al.                                                                   PLAINTIFFS

 v.                                                CAUSE NO. 1:24cv161-LG-BWR

 XAVIER BECERRA, in his
 official capacity as Secretary
 of the United States
 Department of Health and
 Human Services, et al.                                              DEFENDANTS


                              SCHEDULING ORDER

      BEFORE THE COURT is the [20] Motion for § 705 Relief and a Preliminary

Injunction filed by Plaintiffs State of Tennessee, State of Mississippi, State of

Alabama, State of Georgia, State of Indiana, State of Kansas, Commonwealth of

Kentucky, State of Louisiana, State of Nebraska, State of Ohio, State of Oklahoma,

State of South Carolina, State of South Dakota, Commonwealth of Virginia, and

State of West Virginia. Plaintiffs ask the Court to delay the effective date and to

enjoin Defendants Xavier Becerra, Chiquita Brooks-LaSure, Centers for Medicare

and Medicaid Services, Melanie Fontes Rainer, and United States Department of

Health and Human Services (“HHS”) from enforcing a new rule issued by HHS. See

Nondiscrimination in Health Programs and Activities, 89 Fed. Reg. 37,522 (May 6,

2024). Plaintiffs claim they will be irreparably injured by the new rule, which takes

effect on July 5, 2024. It seeks relief under 5 U.S.C. § 705 and Federal Rule of Civil

Procedure 65.
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      Counsel for Defendants entered an appearance before Plaintiffs filed their

[20] Motion, so Defendants were provided notice of the Motion via the Court’s

CM/ECF system. (ECF Nos. 18, 19). In their [20] Motion, Plaintiffs state that their

attorneys have conferred with counsel for Defendants, who represented that

Defendants “oppose this Motion and expedited consideration of the same.” (Pls.’

Mot. at 3, ECF No. 20). Plaintiffs “further requested that Defendants agree to a

temporary stay of any enforcement of the 2024 Rule against the Plaintiff States

until the end of July to provide additional time for briefing of the instant motion,

but Defendants object to any such stay.” (Id.).

      To ensure the timely, efficient, and orderly resolution of Plaintiffs’ motion,

the Court sets the following deadlines. Defendants shall file their response to the

motion and supporting memorandum brief by June 27, 2024. L.U. Civ. R. 7(b)(4). If

Plaintiffs wish to file a reply, they should do so no later than July 1, 2024. Any party

seeking relief from these deadlines must file a motion with the Court at least one

business day prior to the deadline and demonstrate good cause for an extension. Any

party seeking an extension must also advise the Court whether the request is opposed.

L.U. Civ. R. 7(b)(10). Given the approaching July 5, 2024, effective date for the new

rule, the parties should not assume the Court will grant requests for extensions absent

a clear demonstration of good cause.

      In their briefing, the parties are encouraged to address what effect, if any, the

district court decision in Neese v. Becerra, 640 F. Supp. 3d 668 (N.D. Tex. 2022), and the

appeal of that decision pending before the Fifth Circuit, No. 23-10078 (5th Cir.), have

on the relief requested by the States in the pending motion.

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        The parties are reminded that under the Local Rules the movant’s original and

rebuttal memorandum briefs together may not exceed thirty-five pages, and the

respondent’s memorandum brief may not exceed thirty-five pages. L.U. Civ. R. 7(b)(5).

If a party requires more pages to fully respond, it must seek leave of Court at least one

business day prior to the party’s filing deadline. Only reasonable requests will be

granted.

        IT IS THEREFORE ORDERED AND ADJUDGED that Defendants shall

file their response to the [20] Motion for § 705 Relief and a Preliminary Injunction

filed by Plaintiffs by June 27, 2024, and Plaintiffs shall file any reply by July 1,

2024.

        SO ORDERED AND ADJUDGED this the 14th day of June, 2024.


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                                                 Louis Guirola, Jr.
                                                 United States District Judge




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